IN THE UNITED STATES DISTRICT COURT eit EP
FOR THE EASTERN DISTRICT OF TENNESSEE
KNOXVILLE DIVISION ib FCB -8

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UNITED STATES OF AMERICA,

PLAINTIFF, UNDER SEAL meneeb

No. 3:16-CR-20
JUDGES THAPAR/GUYTON

Vv.

MARK HAZELWOOD,
SCOTT WOMBOLD,
JOHN FREEMAN,
VICKI BORDEN,
JOHN SPIEWAK,
HEATHER JONES,
KATY BIBEE, and
KAREN MANN,

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DEFENDANTS.

 

Notice of Filing Government’s Disclosure Statement Pursuant to Federal Rule
of Criminal Procedure 12.4 and Notice of Government’s Intent to Request
Partial Relief from Rule 12.4’s Initial Appearance Deadline

 

The United States hereby provides notice that Attachment A to this notice of filing
initiates the government’s satisfaction of its obligation to file a disclosure statement related to
potential organizational victims at initial appearance pursuant to Federal Rule of Criminal
Procedure 12.4.

Rule 12.4(a)(2) states that:

If an organization is a victim of the alleged criminal activity, the government must
file a statement identifying the victim. Ifthe organizational victim is a
corporation, the statement must also disclose the information required by Rule
12.4(a)(1) to the extent it can be obtained through due diligence.

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Fed. R. Crim. P. 12.4(a)(2). The cross-reference to Rule 12.4(a)(1) for corporate victims means
that for corporate victims, the United States must use due diligence to identify the corporate
victim’s “parent corporation and [any] publicly held corporation that owns 10% or more of its
stock.” Fed. R. Crim. P. 12.4(a)(1). As stated in the Advisory Committee’s Notes, “the purpose
of [the Rule 12.4] disclosure is to alert the court to the fact that a possible ground for
disqualification might exist.” Fed. R. Crim. P. 12.4 advisory committee’s notes.

The government offers the following background for the list of non-governmental
organizations, namely interstate trucking companies, provided in Attachment A. On April 15,
2013, the Federal Bureau of Investigation and the Internal Revenue Service-Criminal
Investigation executed search warrants at the Knoxville, Tennessee corporate headquarters of
Pilot Travel Centers LLC (Pilot). In July 2014, Pilot entered into a Criminal Enforcement
Agreement with the United States and agreed to cooperate with the government’s ongoing
criminal investigation. Through that cooperation, Pilot, through counsel, has advised the United
States that Pilot’s audit of its trucking company customer accounts, in the wake of the federal
search warrants, resulted in payments to thousands of trucking company customers, ranging from
a few dollars to millions of dollars. The government’s criminal investigation has been focused
on identifying which of those trucking company customers were victims of the offenses alleged
in the Indictment in this case. Based on the investigation to date, using the definitions of terms
“crime victim” set forth in 18 U.S.C. § 3771(e) and “victim” set forth in 18 U.S.C. §§ 3663(a)(2)
and 3663A(a)(2) as a guide, the likely actual, or intended or targeted, non-governmental victims
of the fraud offenses alleged in the Indictment in this case are the 382 trucking company

customers listed in Attachment A (357 domestic companies and 25 non-domestic companies). '

 

' To be clear, the government is not, at this time, labeling all of the trucking companies
listed on Attachment A as “crime victims” or “victims” within the meanings of the above-cited
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The government also hereby gives notice that, at initial appearance, it will orally move
the Court to grant it partial relief from its obligation to provide, at initial appearance, the
additional information required by Fed. R. Crim. P. 12.4(b)(1), “parent corporation” information
and whether any “publicly held corporation [that] owns 10% or more of its stock.” As the
Advisory Committee’s Notes state, “[t]he rule requires an attorney for the government to use due
diligence in obtaining information that information from a corporate organizational victim,
recognizing that the timing requirements of Rule 12.4(b) might make it difficult to obtain the
necessary information by the time the initial appearance is conducted.” Fed. R. Crim. P. 12.4
advisory committee’s notes. Various factors, including the scale of this Rule 12.4 exercise, have
made it difficult to gather this additional information for trucking companies that may be
corporations and have such information available for initial appearance.

The relief sought from the government is as follows. The government respectfully
requests that the court deem as sufficient “due diligence,” within the meaning of Rule 12.4, the
government’s sending of the following communication, by email or regular mail, to the 357
domestic” trucking companies listed on Attachment A, and then reporting any pertinent

responses to the Court through a filed submission on March 8, 2016:

 

statutes. The government is in good faith choosing to be over-inclusive in its effort to comply
with the spirit of Rule 12.4, that is to assist the Court with identifying any “ground for
disqualification.” Fed. R. Crim. P. 12.4 advisory committee’s notes. In that vein, if the Court
would like a list of every Pilot trucking company customer to which Pilot sent a post-audit
payment, the government will promptly file such list with the Court upon request.

* To avoid any possible violation of any applicable treaty, the United States Attorney’s
Office does not plan to directly contact any non-domestic trucking companies.

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Dear Trucking Company:

You are receiving this email/letter because you have been identified as an
organization that may have been a crime victim (or an intended crime victim), as
defined by 18 U.S.C. $$ 18 U.S.C. 3663(a)(2), 3663A(a)(2), and 3771(e), of the
federal fraud offenses charged in criminal cases presently pending before the
United States District Court for the Eastern District of Tennessee, and which
concern diesel fuel discount practices at Pilot Travel Centers LLC prior to April
15, 2013.

Federal Rule of Criminal Procedure 12.4 requires that the government file a
statement with the Court identifying any victims of alleged criminal activity that
are “organizations.” Additionally, the United States must identify for the Court
any victim organizations that are corporations, and for any organizations that are

corporations, identify any such corporate organization’s “parent corporation and
any publicly held corporation that owns 10% or more of its stock.”

Accordingly, at your earliest convenience, please reply to this email/letter and
answer the following:

de Is your trucking company a corporation, or similar legal entity?

2. If your trucking company is a corporation, or similar legal entity,
does your company have a parent corporation? If so, what is the
name of that parent corporation?

3. If your trucking company is a corporation, or similar legal entity,
does a publicly held corporation own 10% or more if its stock? If
so, please state the name of any such publicly held corporation.

Please do not hesitate to contact me by telephone, at the number provided below,
with any questions and to verify the legitimacy of this request.

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Respectfully submitted,

NANCY STALLARD HARR
ACTING UNITED STATES ATTORNEY

wo FHM Haul

Francis M. Hamilton III

David P. Lewen, Jr.

Assistant United States Attorneys
800 Market Street, Suite 211
Knoxville, Tennessee 37902
Telephone: (865) 545-4167

CERTIFICATE OF SERVICE

I hereby certify that on February 8, 2016, a copy of the foregoing Notice of Filing
Government’s Disclosure Statement Pursuant to Federal Rule of Criminal Procedure 12.4
and Notice of Government’s Intent to Request Partial Relief from Rule 12.4’s Initial
Appearance Deadline was filed with the Clerk of the United States District Court. Once this
matter is unsealed, notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

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Attachment A: Notice of Filing Government’s Disclosure Statement
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A Duie Pyle

A G Trucking

A T A Transportation

A T C Leasing Company

ABC Supply

ABC Transportation Company

Action Expediting

Action Express

Advanced Waste Services

Aker Plastics Company, Inc.

Alamo

Alcatraz LLC

All American Xpress, Inc.

All Modes, Inc.

Allied

Altendorf

Am-Can Transport Service, Inc.
America Midwest Transportation
American Furniture Manufacturing, Inc.
Amerifreight

Amerifreight Systems LLC

Ancor Transport (Canadian Company)
Andrew's Trucking / TRA Transportation
Andrus Transportation

Apex Express, Inc.

Area Logistics

Area Transportation Company

Ashley Distribution Services

ATA-US Midwest

ATC Leasing Unimark Truck Transportation
Atlas SN

Atrium Companies

Auto Carriers-JAX Express

AV Transportation

AWL Transport, Inc./PDQ TL Express, Inc.
BD Transportation, Inc.

B P Express, Inc.

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Baldwin Transport

Barnhart Transportation

Bay and Bay Transfer

Beelman Truck Co

Belmont Moving & Storage
Benefit Trucking

Benny Whitehead

Bestway System/Total Transportation
BIH

Bison Transport (Canadian Company)
Black Horse Carriers

Bowling Green Freight, Inc.

Boyd & Sons. Inc.

Brite Logistics, Inc.

Brook Ledge

BRT, Inc.

B-T, Inc. (Part of Decker)
Buccaneer Enterprises

Buchanan Hauling & Rigging, Inc.
Bulkmatic Transport

Bulldog Freightway, Inc.

Bull's Eye Express, Inc.

Buske Lines, Inc. (Purchased by Gordon Trucking)
C & J Trucking of Iowa

C & K Trucking

CDN Logistics, Inc.

C&I Trucking

California Overland

Carbon Express

Cardone Industries

Caribe Trucking Express, LLC
Carolina Tank Lines

Carry On Trucking, Inc.

Cassen Transport Co

Cedar Valley

Celerity Transport, Inc.

Central Transport, LLC

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Centurion Auto Transport Inc.

Ceva Ground (The Select Carrier Group)
Chambers Transportation

Chandler Trucking

Charger Logistics (Canadian Company)
Charles Bailey Trucking, Inc.

Chief Express, LLC

Clark Transfer

Cloplay Transportation Co

Cobra Logistics

Commonwealth Express

Compass Funding Solutions
Consolidation Services (CSI)

Cooke Trucking

Crewe Transfer, Inc.

CRH Transportation, Inc.

CRT Transportation

DTF Trucking

Dana Transport

Dan Freight System, Inc. (Canadian Company)
Danny Herman Trucking

DeBoer

Decker

Dick Lavy

Dillon Transport, Inc.

Dillon Transportation

Dixie Clean & Sweep LLC/Riverbend Express
DMS Express

DOT Transportation

Dot-Line Transportation

Doug Marquardt/Skyway Transportation
Dowell Transport

Driveline International

DTS Truck Division

Dutch Maid Logistics, Inc.

Dynamic Express, Inc.

Dynamic Transit

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Eagle Motor Freight

East-West Express, Inc.

Eden Logistics/Unlimited Carrier/Trans Quality/ES Express
Equity Transportation

Express 1/Trans-Logistic

FAB Express, Inc.

F&W Transportation, Inc.

Falcon Transport Company

Fed Ex Freight East/West--Viking Freight
Finkle Freight

First Choice Logistics

First Trucking

Flash Truck Lines Corporation

Florida Beauty Express, Inc.

Floyd and Beasley

Forbes Hewlett Transport, Inc. (Canadian Company)
Foltz Trucking, Inc.

Fraley & Schilling

Freedom International

Fremont Contract Carriers

GDX Trucking, Inc. (Canadian Company)
G & D Transportation

G & P Trucking

G & S Expedited

General Services

Genmar Transportation

Global Cargo, Inc.

Grand Island Express

Gretna Enterprises, LLC

GT Trans.

Gypsum

H & M Trucking, Inc.

Halvor Lines, Inc.

Hardy Brothers

Harold David Story (Cedar Creek)

HC Parrish

Heding Trucking Service, Inc.

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Heniff Transportation

Hill Brothers / Hill Brothers Intermodal
Hill Transportation, Inc.

Holland Transport

Holmes Company of Jackson Inc.
Honey Transport

Hyndman Transport (1972) Ltd. (Canadian Company)
Inter INC/ICT Logistics

Iowa Motor Truck

Issac Transportation/Carlos Rodriguez
JBT Transport (Canadian Company)
J & B Services, Inc.

J & M Tank Lines

JNJ Express, Inc.

JTM Transport, Inc.

Jack B Kelley

JD Associates

Jennings Transportation

JK Moving & Storage, Inc.

JKC Trucking

J-Mar Enterprises

Joe's Trucking

Johnson Feed, Inc.

Joker Unlimited Group

JTL Trailers/Carriers

K & C Trucking

K & K Trucking

K BT, Inc.

KF Express, Inc.

K&S Transport Services

K2 Express

Kelle's Transport Service, Inc.
Kellogg’s

Kenan Advantage Group, Inc.
Kennedy Trans/Timothy J. Kennedy
Keystone Freight

K-Limited Carrier, Ltd

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Kohler

Koleaseco, Inc.

Lanter Refrigerated

Laris Shelman & Sons Trucking
Lawrence Transportation Co/Wilson Refridgerated
Leaseway Auto Transport (PTS, Inc.)
Lee's Trucking

Lily Transportation Corp

Linden Bulk Transportation

Liquid Transport

Logic Corp Enterprises, LLC

LTI Trucking Company

Lynden Transport, Inc.

M and C Trucking Co

M Brothers/Safe Logistics

MCH Transportation Co

McConnell Transport Limited (Canadian Company)
Madden

Mane’s Paper & Food Service

Major Transportation Services
Maktrans

Market Transport, LTD

Max Morgan Motor Freight
Maximum Transportation
McCollister's Transportation

MCI Express /AJT Trucking, Inc.
McKee Foods

McLeod Express/McLeod Farms
McMullen Bros

Meiborg Brothers

Merit Transportation Compnay, Inc.
Metropolitan Trucking, Inc.

Mex Cal Truckline, Inc.

MGR Freight Systems

MI Transportation, Inc.

Mid States Leasing

Mid-South Wire Company (MS Logistics)

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Midwest Coast Transport

Midwest Logistics Inc./IN

Midwest Logistics Systems

Midwest Refrigerated

Minn Tex

MM Global/M&M Transport

Mobility Network

Moore Freight Service

Morris Transportation

Morristown Drivers Service

Multiline Transport, LTD. (Canadian Company)
MR Trucking

Nationwide Transportation, Inc.

New Century Transportation, d/b/a A-One Exp.
New Line Transport, LLC

New World Van Lines

Nick Strimbu, Inc.

NKC Transportation

Northwest Pallet

N Yankee Group (Canadian Company)

Oakley Transport

O’Neal’s Steel

One World Logistics

Online Transport, Inc.

473 Ontario, Inc.-Little Rock — (Canadian Company)
1633108 Ontario, Inc.- Pearl GI — (Canadian Company)
Ottery Transportation

P&I Motor Express

Papetti's Hygrade Egg Products

Paragon Motor Lines, Inc.

Park Transportation

Patriot Transport, Inc.

Paul Brandt Trucking, Ltd. (Canadian Company)
Paul Transportation Inc.

Penner International, Inc. (Canadian Company)
Perfetti Trucking

Phoenix Transportation Services

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Piedmont Express

Plainfield Trucking

Pleasant Trucking, Inc.

Pohl Transportaion, Inc.

Pollywog Transport

Polmax

Pope Trucking

Preferred Transport

Price Transport Brokerage/DE Price
Prima Express, Inc.

Prime Inc/O & S Trucking, Inc.
Pritchett Trucking, Inc.

Progressive Transportation

Q Carriers Inc/Quiring, Inc.

Q-Line Trucking (Canadian Company)
Quality Logistics

Quality Supplier Trucking, Inc.
Queen Transportation

R & R Trucking

R&L Carriers

R&R Transportation

Raider Express, Inc.

Reagent Chemical

Refrigerated Express, LC

Regal Beloit Logistics, LLC (Marathon)
Regal Transport, LTD (Canadian Company)
Relco Systems, Inc./BBX, Inc.

Rite Logistix (Kozy's)

Riverside Transport Inc.

Roadrunner Expeditors/JF Freight
Roger's Trucking (Tankstar)

Rose Acre Farms, Inc.

Royal Freight

Ruan Transportation Management
Rubber Duckling

RWH Trucking, Inc./Southern Service
Ryder Integrated Logistics

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Ryder Trucking

S & H Express/Granite Transportation
S & M Transportation, Inc.
Schibi

Service Trucking

Shadd Trucking
Sharkey/Sysco/Shipper's Rental
Sharp Transportation, Inc.
Shrock Trucking Company
Silver Line Building Products
Simbeck, Inc.

SLT Expressways/Expressway Group
Smith Transport

Smith Trucking

Smith Trucking Inc.

Solid Group Inc.

South East Express, Inc.
Southeast Carriers

Southeastern Trailer Rent/ Southern AG Carriers
Sparhawk Trucking Incorporated
Spotted Lakes, LLC

Stan Koch & Sons

Stanley Freight

Star Trans

Sterling Transport Company
Store & Haul, Inc.

Sue Vinjie

Summerford Truck Lines
Summitt Trucking, LLC

Sweet Express

THX Transport, LLC

Tanks Alot, LLC

Taylor Express, Inc.

Taylor Transport

Taz Trucking

Tennant Truck Lines, Inc.

Titan Transfer, Inc.

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Titan Transportation Service, Inc.

TLD Logistics Services, Inc.

T-Lines Express

Tombigbee Transport Company

Total Logistic Control, LLC/Ryder Truck Rental
Total Logistics Trucking (Canadian Company)
TPT Systems (Wiseway Motor Freight) (Canadian Company)
Trans-Carriers, Inc.

Trans4 Logistics (TST Solutions) (Canadian Company)
Transfreight LLC (Canadian Company)
Transco Lines

Transport N Service, Inc. (Canadian Company)
Transport One

Transportation Specialists

Transportation Technology

Transtech Leasing

Transway Transport

Travelers Transportation (Canadian Company)
Tribe Transportation

Tri-Hi Transportation

Trio Trucking, Inc.

Triple C Carrier, LLC

Trius Trucking, Inc.

Truckmen Corporation

Trucks, Inc.

TRX, Inc./Kaplan Trucking/Eastern Express
TTI Inc.

Twiss Transport, LLC

USA Cartage, Inc.

Van WYK, Inc.

Venture Logistics, Inc.

WEL Companies, Inc.

WN Morehouse Truck Line, Inc.

WW Trucking Company

Walsh Truck Repair and Service

Warren Transport

Wenger Truck Lines, Inc.

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Western Express

West Penn Diesel

West Trucking

West Wisconsin/Leonards Express

Windward Petroleum

Winnipeg Motor Express USA (Canadian Company)
Wiseway Motor Freight, Inc. (TPT Systems)
Worldwide Carriers, LTD. (Canadian Company)
Wooster Motor Ways

WTW Enterprises, Inc.

Your Town Transport, Inc.

Zeitner & Sons

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